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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

Charlotte Loquasto, et al.,                       §
                                                  §
               Plaintiffs,                        §
v.                                                §        Civil Action No. 3:19-cv-01455-B
                                                  §       (Consolidated with Civil Action No.
Fluor Corporation, Inc., et al.                   §                3:19-cv-01624-B)
                                                  §
               Defendants.                        §

      DEFENDANTS FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC.,
      FLUOR INTERCONTINENTAL, INC., AND FLUOR GOVERNMENT GROUP
        INTERNATIONAL, INC.’S REPLY IN SUPPORT OF THEIR OPPOSED
          MOTION FOR LEAVE TO FILE A REPLY APPENDIX [DOC. 68]

TO THE HONORABLE JANE J. BOYLE, UNITED STATES DISTRICT JUDGE:

        Defendants Fluor Corporation, Inc., Fluor Enterprises, Inc., Fluor Intercontinental, Inc.,

and Fluor Government Group International, Inc. (“Fluor”) filed a Motion for Leave to File an

Appendix to their Reply in Support of the Rule 12(b)(1) Motion to Dismiss and Motion for

Summary Judgment under 28 U.S.C. § 2860(j) [Doc. 68] (“Motion for Leave”). In its Motion for

Leave, Fluor sought permission to file declarations from three witnesses: (1) the top U.S. Army

Contracting Officer; (2) a retired U.S. Army Lieutenant General; and (3) Fluor’s lead contracting

manager. These declarations bear directly on the legal issues before the Court; they respond

directly to unsubstantiated factual assertions that Plaintiffs made in opposing Fluor’s dispositive

motion; and, they would materially assist the Court in resolving the motion to dismiss [Doc. 45].

        In their response [Doc. 69], Plaintiffs do not dispute any of these facts. Nor could they. The

contents of the declarations are unquestionably probative—indeed, dispositive—evidence

regarding Fluor’s combatant-activities preemption defense. The declarants confirm, for example,

that “Fluor augmented and was integrated within the military at Bagram Airfield,” and that Fluor’s




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performance of “essential sustainment support services” for the Army—including the performance

of functions at issue in this lawsuit—“was within the scope of the LOGCAP IV contract.” See

Doc. 68-1 at 3-4 (Decl. of Lindsay Weindruch).

         Plaintiffs instead contend that the Court should ignore this unquestionably probative

evidence because Fluor made a “strategic choice” to file an early summary judgment motion. That

argument fails. First, the timing of Fluor’s motion comports with the Fifth Circuit’s directive that

district courts “take care to develop and resolve [Fluor’s] defenses at an early stage while

avoiding, to the extent possible, any interference with military prerogatives.” 1 Second, Fluor’s

decision to file an early motion is irrelevant to whether there is good cause to now supplement the

record. The Court should grant leave, particularly at this relatively early stage of the case, because

Fluor had good reasons to file the declarations for the first time in reply—namely, the declarations

respond to allegations raised for the first time in opposition, and the declarations will materially

assist the Court in deciding the issues.

         Contrary to Plaintiffs’ unsupported assertion, see [Doc. 69 at 1, n.4], the declarations bear

on issues related to Fluor’s combatant-activities motion and Fluor’s political question doctrine

motion. The two defenses rest on overlapping doctrines, including core principles of separation of

powers and federalism. By addressing the sensitive Military judgments embedded in the Military’s

use of private contractors on the battlefield under the LOGCAP program, and the integration of

Fluor into the Military force at Bagram, the declarations directly bear on both combatant activities

preemption and the political question doctrine.

         The Court should not excise such highly relevant facts from the record. At most, the Court

could allow Plaintiffs the opportunity to depose the three declarants regarding the contents of their



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    Martin v. Halliburton, 618 F.3d 476, 488 (5th Cir. 2010) (emphasis added).


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declarations. If the Court deems that necessary, Fluor does not oppose Plaintiffs being given such

opportunity.

                                             Respectfully submitted,

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                                     Certificate of Service

        The undersigned certifies that on August 3, 2020, Fluor served a true and correct copy of
the foregoing document on all known counsel of record via the Northern District’s CM/ECF filing
service under the Federal Rules of Civil Procedure and the Northern District Local Rules.


                                             /s/ Darrell L. Barger
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